Case 3:17-cv-00072-NKM-JCH Document 1193-1 Filed 10/12/21 Page 1 of 5 Pageid#:
                                  20090




                   EXHIBIT A
Case 3:17-cv-00072-NKM-JCH Document 1193-1 Filed 10/12/21 Page 2 of 5 Pageid#:
                                  20091


                            UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW HAMPSHIRE

 UNITED STATES OF AMERICA                             )
                                                      )
        v.                                            )
                                                      )      Case No. 1:20-cr-06-PB
 CHRISTOPHER C. CANTWELL,                             )
                                                      )
        Defendant.                                    )

                                SUPERSEDING INDICTMENT

        The Grand Jury charges:

                                         COUNT ONE
                                       18 U.S.C. § 875(b)
                            Extortionate Interstate Communications

        On or about June 16, 2019, within the District of New Hampshire and elsewhere, the

 defendant,

                               CHRISTOPHER C. CANTWELL,

 with intent to extort from Victim 1 a thing of value, namely, personal identifying information for

 a man known by the on-line pseudonym “VM,” and for the purpose of issuing a threat and with

 knowledge that the communications would be viewed as a threat, transmitted a communication

 in interstate commerce containing a threat to injure the person of another. The defendant sent an

 instant message through the Telegram Messenger app to Victim 1 stating, “So if you don’t want

 me to come and f*ck your wife in front of your kids, then you should make yourself scarce[.]

 Give me Vic, it’s your only out.”

        In violation of Title 18, United States Code, Section 875(b).




                                                 1
Case 3:17-cv-00072-NKM-JCH Document 1193-1 Filed 10/12/21 Page 3 of 5 Pageid#:
                                  20092




                                        COUNT TWO
                                      18 U.S.C. § 875(c)
                            Threatening Interstate Communications

        On or about June 16, 2019, within the District of New Hampshire and elsewhere, the

 defendant,

                               CHRISTOPHER C. CANTWELL,

 for the purpose of issuing a threat and with knowledge that the communications would be viewed

 as a threat, transmitted a communication in interstate commerce containing a threat to injure the

 person of another. The defendant sent an instant message through the Telegram Messenger app

 to Victim 1 stating, “So if you don’t want me to come and f*ck your wife in front of your kids,

 then you should make yourself scarce.”

        In violation of Title 18, United States Code, Section 875(c).



                                        COUNT THREE
                                       18 U.S.C. § 875(d)
                            Threat to Injure Property or Reputation

        Between on or about June 15, 2019, and on or about June 17, 2019, within the District of

 New Hampshire and elsewhere, the defendant,

                               CHRISTOPHER C. CANTWELL,

 with intent to extort from Victim 1 a thing of value, namely, personal identifying information for

 a man known by the on-line pseudonym “VM,” knowingly transmitted in interstate and foreign

 commerce communications containing a threat to injure the reputation of Victim 1 and a threat to

 accuse Victim 1 of a crime. Specifically, the defendant sent instant messages through the

 Telegram Messenger app to Victim 1 stating, “Get a f*cking life or I will ruin the one you have”;

 “. . . you are going to lose everything you have”; “Next time I post that photo, the faces won’t be


                                                 2
Case 3:17-cv-00072-NKM-JCH Document 1193-1 Filed 10/12/21 Page 4 of 5 Pageid#:
                                  20093


 blurred, and they you’re going to start getting unexpected visitors”; “. . . you’re the one who’s

 gonna suffer cause you’re the one who I can get”; “You think the FBI would take issue with an

 LSD user owning guns around kids?”; “On Tuesday I’m going to send every episode of

 BowlCast along with your identifying information to whatever the local equivalent of CPS is in

 your jurisdiction”; “But I’m pretty sure once that visit comes, you’ll understand that this is

 serious”; and “Tell [VM] that if he gives himself up, he can save your family.”

        In violation of Title 18, United States Code, Section 875(d).

                                           COUNT FOUR
                                        18 U.S.C. § 2261A(2)
                                           Cyberstalking

        Between in or about June 15 and June 17, 2019, within the District of New Hampshire

 and elsewhere, the defendant,

                                 CHRISTOPHER C. CANTWELL,

 with the intent to harass and intimidate Victim 1, did use facilities of interstate and foreign

 commerce, including electronic communication services and telephone facilities, to engage in a

 course of conduct that placed Victim 1 in reasonable fear of serious bodily injury to Victim 1’s

 spouse, and that caused, attempted to cause, and would be reasonably expected to cause

 substantial emotional distress to Victim 1 and Victim 1’s spouse. The defendant’s course of

 conduct included (1) on or about June 15-16, 2019, threatening to rape Victim 1’s wife,

 threatening to “dox” Victim 1 by publishing on the internet Victim 1’s identifying information,

 and threatening to report Victim 1 to Child and Protective Services, by sending instant messages

 through the Telegram Messenger app to Victim 1 stating, “Get a f*cking life or I will ruin the

 one you have”; “. . . you are going to lose everything you have”; “Next time I post that photo,

 the faces won’t be blurred, and they you’re going to start getting unexpected visitors”; “. . .

 you’re the one who’s gonna suffer cause you’re the one who I can get”; “. . . but if you give me


                                                   3
Case 3:17-cv-00072-NKM-JCH Document 1193-1 Filed 10/12/21 Page 5 of 5 Pageid#:
                                  20094


 fake info, then your wife is gonna have trouble sleeping at night until she leaves you and takes

 your kids away”; “So if you don’t want me to come and f*ck your wife in front of your kids,

 then you should make yourself scarce”; “I bet one of my incel listeners would love to give her

 another baby”; “You think the FBI would take issue with an LSD user owning guns around

 kids?”; “On Tuesday I’m going to send every episode of BowlCast along with your identifying

 information to whatever the local equivalent of CPS is in your jurisdiction”; “But I’m pretty sure

 once that visit comes, you’ll understand that this is serious”; and “Tell [VM] that if he gives

 himself up, he can save your family.”; (2) on or about June 17, 2019, doxing Victim 1 by posting

 Victim 1’s state, town, and street and photographs of Victim 1 and Victim 1’s wife and children

 on the Radical Agenda account on Telegram Messenger, and writing “that’s [Victim 1], and

 tomorrow morning, I’m calling CPS to [give] them every episode of BowlCast, and inform them

 that this acid dropping fake Nazi is endangering those children with his behavior”; and (3) on or

 about June 17, 2019, telephoning the child abuse and neglect hotline in Victim 1’s state and

 making a report against Victim 1.

        In violation of Title 18, United States Code, Section 2261A(2).



                                                       A TRUE BILL


 Date: July 8, 2020                                    /s/ Foreperson
                                                       Foreperson

        SCOTT W. MURRAY
        United States Attorney


 By:    /s/ John S. Davis
        John S. Davis
        Anna Krasinski
        Assistant United States Attorneys



                                                  4
